                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION


UNITED STATES OF AMERICA                  )
                                          )
v.                                        )        NO. 3:11-00194
                                          )        JUDGE CAMPBELL
BRAD ELIOT BENEDICT                       )


                                          ORDER


      Pending before the Court is a Motion To Set Hearing For Change Of Plea (Docket No.

594). The Motion is GRANTED.

      The Court will hold a hearing on August 24, 2012, at 1:30 p.m.

      IT IS SO ORDERED.



                                                   __________________________________
                                                   TODD J. CAMPBELL
                                                   UNITED STATES DISTRICT JUDGE




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